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                        IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   KATE GRANT and KARMANN KASTEN,
   LLC,                                                   ORDER DENYING DEFENDANT
                                         Plaintiffs,    SPENCER TAYLOR’S SHORT FORM
                                                          DISCOVERY MOTION TO STAY
   vs.                                                           DEPOSITION
   KEVIN LONG; MILLCREEK
   COMMERCIAL PROPERTIES, LLC;                            Case No. 2:23-cv-00936-AMA-CMR
   COLLIERS INTERNATIONAL; BRENT
   SMITH; SPENCER TAYLOR; BLAKE                           District Judge Ann Marie McIff Allen
   MCDOUGAL; and MARY STREET,
                                                          Magistrate Judge Cecilia M. Romero
                                        Defendants.


         Before the court is Defendant Spencer Taylor’s (Taylor) Short Form Discovery Motion

 to Stay Deposition (ECF 82) (Motion). Having carefully considered the relevant filings, including

 Plaintiffs’ Response (ECF 83), the court DENIES the Motion for the reasons set forth below.

         Taylor requests that his deposition be stayed pending the resolution of the Joint Motion

 to Consolidate Related Cases (ECF 57) (Motion to Consolidate). The court has since denied the

 Motion to Consolidate, finding it was “not warranted at the present time” (ECF 84 at 1). Because

 the Motion to Consolidate was resolved, Taylor no longer has a basis for staying his deposition.

 As was noted in the earlier order, “the parties should coordinate to take discovery at mutually

 convenient times and reduce costs” and, if appropriate, may “make more modest requests to join

 discovery, to avoid unnecessary duplication of effort” (id. at 2). Given this update in the matter,

 the parties are directed to meet and confer regarding the discovery requests at issue in the Motion.

         For these reasons, the court DENIES the Motion and ORDERS that the deposition of

 Taylor proceed.
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      IT IS SO ORDERED.
     DATED this 1 October 2024.




                                      Magistrate Judge Cecilia M. Romero
                                      United States District Court for the District of Utah
